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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA
                                   Case No. 21-cr-173 (PJS/DTS)

    UNITED STATES OF AMERICA,

                  Plaintiff,

    v.                                            RESPONSE TO MOTION TO
                                                  VACATE RESTRAINTS ON
    1. ANTON JOSEPH LAZZARO,                      CERTAIN PROPERTY
        a/k/a Tony Lazzaro,
        a/k/a Tony,

    and

    2. GISELA CASTRO MEDINA,
        a/k/a Gisela Medina,

                  Defendants.

                                       INTRODUCTION

          Motions for return or property, like the one at issue here, are procedurally improper

when the subject property has been included in the forfeiture allegations of an indictment.

Defendant Anton Lazzaro cites no valid reason to deviate from the well-established rule

that defendants must ordinarily wait until after trial to challenge the requested forfeitures

and seek the return of such seized, forfeitable property consistent with Rule 32.2.

          Lazzaro’s motion would fail even if it could overcome this procedural infirmity.

The vehicle, phones, and electronic devices 1 are all directly forfeitable and therefore are

appropriately in government custody, contrary to Lazzaro’s mischaracterization of them as

substitute assets. See ECF No. 75 at 1 (Stating “[u]ntainted property may not be restrained


1
    The currency was returned. ECF No. 112. That portion of his motion is now moot.
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before trial.”). The Ferrari, which was seized pursuant to a seizure warrant, was plainly

“involved in” the sex trafficking of a minor. The phones and other electronic devices are

properly held as evidence—which is an independent basis for their retention—and in any

event are alleged to be subject to forfeiture. None are substitute assets. Lazzaro may

challenge their forfeiture after conviction, but not before then.

       In short, Lazzaro has not demonstrated the right to the type of extraordinary relief

he seeks here, which is a pretrial, rather than post-trial, hearing to challenge the forfeiture

of assets properly seized and listed in the forfeiture allegations of his indictment. His

motion should be denied.

                                     BACKGROUND

       Lazzaro is charged with ten counts of violating the Trafficking Victims Protection

Act for his conduct in the sex trafficking of at least six minor girls and attempting to

obstruct justice by paying the victims for their silence. The charges against Lazzaro include

Conspiracy to Commit Sex Trafficking and counts relating to Sex Trafficking of a Minor.

Only those facts most pertinent to the seizure and retention of the specific assets at issue in

this motion are described below.

   A. The Electronic Devices

       On or about December 15, 2021, law enforcement officers searched Lazzaro’s

residence and seized various items in connection with an investigation of Lazzaro and

others for sex trafficking and conspiracy to commit sex trafficking, in addition to

production and distribution of child pornography. ECF No. 75-2, Ex. C. All of the

electronic devices that are listed in the indictment were seized at that time. An additional

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cell phone was seized from Lazzaro when he was arrested. The electronic devices have

been or are being searched (some have encryption software that delays and complicates

search attempts) and are therefore evidence in an ongoing investigation and pending

prosecution. The United States has agreed to copy the contents of these devices onto hard

drives for Lazzaro’s attorneys. Lazzaro is incarcerated and cannot possess them.

    B. The Ferrari

       The Ferrari was seized on August 13, 2021, pursuant to a civil and criminal seizure

warrant issued after Lazzaro was indicted. ECF No. 75-3 at 1-4. As is described below and

in the Affidavit supporting the seizure warrant, the Ferrari was “involved in” Lazzaro’s sex

trafficking conspiracy and one of the substantive charges because he used it to drive an

underage victim to his residence for sex in connection with one of the substantive charges.

The Ferrari was listed in the forfeiture allegations of the Indictment. It remains in

government custody. 2

    C. The Currency

       As is stated above, the United States also seized $371,240.00 of United States

currency from a safe in Lazzaro’s residence. The United States ultimately determined that

it will not seek to forfeit that currency through this case and returned it to Lazzaro, through

his attorneys. See ECF Nos. 105 (Bill of Particulars); 112 (Notice of Return of Asset).




2
  Lazzaro questions why the United States is not also seeking to forfeit a Cadillac. Unlike
the Ferrari, the Cadillac was leased. The United States is not aware of evidence that the
lessor’s interest in it would be subject to forfeiture.
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    D. The Indictment

       August 11, 2021, a Grand Jury returned an Indictment against Lazzaro. The

Indictment charged Lazzaro with one count of Conspiracy to Commit Sex Trafficking of

Minors, five counts of Sex Trafficking of a Minor, one count of Attempted Sex Trafficking

of a Minor and three counts of Sex Trafficking – Obstruction. The Indictment contained

forfeiture allegations which state:

       As a result of the offenses charged in Counts 1 through 10, the defendants
       shall forfeit the following property to the United States pursuant to Title 18,
       United States Code, Section 1594:

       (1) Any property, real or personal, involved in, used or intended to be used
           to commit or to facilitate the commission of the offenses, and any
           property traceable to such property; and

       (2) Any property, real or personal, constituting or derived from, any proceeds
           obtained, directly or indirectly, as a result of the offenses, or any property
           traceable to such property.

ECF No. 1 at 7.

       The forfeiture allegations of Indictment list all of the property in Lazzaro’s motion

except for the Google Pixel phone, which was later added through a Bill of Particulars.

ECF Nos. 1, 105. None of the property at issue is listed as a “substitute asset.” 3 It is all

alleged to have been “involved in used or intended to be used to commit or to facilitate the

commission of” Lazzaro’s sex trafficking offenses. Id.



3
  Lazzaro incorrectly asserts that the property at issue is “untainted,” meaning that it was
identified as a substitute asset rather than directly forfeitable property. ECF No. 75 at 1, 6-
8 (discussing limitations on pretrial seizure of substitute assets). This is wrong; the property
is alleged to be directly forfeitable. See ECF Nos. 1, 105 (identifying the vehicle, phones,
and other electronic devices as directly forfeitable).
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         Lazzaro asserts in his motion that all of the property seized for forfeiture should be

returned to him pending trial. Lazzaro does not allege that he needs the property to pay

counsel. To the contrary, he acknowledges that significant assets were already returned to

him, including valuable gold bars and other precious metals. ECF No. 1 at 1.

                                        ARGUMENT

    I.      Lazzaro is Not Entitled to the Return of the Phones and Other Electronic
            Devices.

         Defendants may, of course, contest the forfeiture of their property in criminal

prosecutions, but they must ordinarily wait until after conviction to do so. That process is

set forth in Rule 32.2 of the Federal Rules of Criminal Procedure. Pursuant to that rule, the

Defendant may, among other things, request a jury determination or hearing before a judge

to contest the forfeiture sought by the government. See Fed. R. Crim. P. 32.2(b)(1). That

hearing takes place “after a verdict or finding of guilty . . . is accepted. . .” 4 Id.; see also

United States v. Liquidators of Eur. Fed. Credit Bank, 630 F.3d 1139, 1144–46 (9th Cir.

2011) (summarizing criminal forfeiture procedure under Rule 32.2 and 21 U.S.C. § 853).

         Consistent with this process, motions seeking the return of seized property 5 alleged

to be subject to forfeiture are generally impermissible, with the limited exception described

in section II(2)(A) below, after the subject property has been named in an indictment or

identified in a bill or particulars. See, e.g., United States v. Stegemann, 40 F. Supp.3d 249,


4
  Lazzaro has requested extensions of his trial date in his case, which the government has
not opposed. ECF Nos. 57, 79.
5
  Although Lazzaro does not cite Rule 41(g), his “Motion to Vacate Restraints on Certain
Seized Property” is indistinguishable from, and is simply a renaming of, a motion for return
of property that is governed that rule. It should be analyzed as such.
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264-65 (N.D.N.Y. 2014) (if defendant is seeking the return of the seized money because it

was allegedly not derived from his offense, he must raise that issue in the forfeiture phase

of his trial pursuant to Rule 32.2(b)(1)(B), not in a pre-trial motion under Rule 41(g));

United States v. Latorre, 2020 WL 7685935, *8 (N.D. Ga. Nov. 23, 2020) (once property

is named in a bill of particulars, defendant’s remedy is to contest the forfeiture in the

forfeiture phase of the trial; Rule 41(g) motion denied); United States v. Durante, 2012 WL

2863490, *1 (D.N.J. July 11, 2012) (once the property has been included in an indictment,

the court may not entertain a Rule 41(g) motion for the return of the property); United

States v. Zazueta-Hernandez, 2020 WL 5016940 (S.D. Ohio Aug. 25, 2020) (Rule 41(g)

not available where government has a continuing interest in seized property based on its

allegations that property is subject to federal forfeiture; defendants had an adequate remedy

at law—contesting forfeiture during forfeiture phase of their criminal trial).

       This is consistent with Eighth Circuit jurisprudence regarding Rule 41(g), which

governs motions for return of property. Under that rule, if a movant establishes lawful

entitlement to the property, “the government must then establish a legitimate reason to

retain the property, which may be satisfied by showing a cognizable claim of ownership or

right to possession adverse to the movant’s.” Jackson v. United States, 526 F.3d 394, 396

(8th Cir. 2008) “A Rule 41([g]) motion is properly denied if the defendant is not entitled

to lawful possession of the seized property, the property is contraband or subject to

forfeiture or the government’s need for the property as evidence continues.” Id.; United

States v. Vanhorn, 296 F.3d 713, 719 (8th Cir. 2002).

       Here, the phones and electronic devices were seized pursuant to search warrants and

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are being held as evidence. Lazzaro’s cited cases do not require evidence to be returned to

a defendant before trial or conclusion of an investigation, and such an outcome would be

contrary to precedent. Vanhorn, 296 F.3d at 719 (“a Rule 41([g]) motion is properly denied

if . . . the property is . . . subject to . . . the government’s need for the property as evidence.”)

The forfeiture cases cited by Lazzaro do not address property held as evidence. See ECF

No. 75 at 6-7 (citing various cases concerning seizure or restraint of property solely for

forfeiture). Although the Ferrari is not expected to be introduced as evidence, it was seized

pursuant to a seizure warrant and is properly being held because it is subject to forfeiture.

Id. (“a Rule 41([g]) motion is properly denied if . . . the property is . . . subject to forfeiture.

. ..”)

          As is set forth above, therefore, Lazzaro must wait to seek the return of such

property until after trial and any subsequent forfeiture proceedings. Allowing a pretrial

hearing regarding their forfeitability would be contrary to the procedures set forth by Rule

32.2, which provides that such hearings take place after trial.

    II.      Lazzaro is Not Entitled to a Probable Cause Hearing on Retention of Seized
             Property.

          A. The Jones-Farmer Test

          As is set forth above, Lazzaro is not entitled to a hearing on his Rule 41(g) motion

filed before trial. To the extent Lazzaro asserts there is a broad right to a hearing on a

“motion to lift restraints on property” outside the realm of Rule 41(g), he is incorrect.

          Under the majority rule, defendants must make a particular showing before they

may obtain a pretrial hearing to seek the return of property seized or restrained for forfeiture


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which is alleged to be forfeitable in an indictment. That test, referred to as the Jones-

Farmer test, is set forth the Tenth and Fourth Circuit cases, United States v. Jones, 160

F.3d 641 (10th Cir. 1998) and United States v. Farmer, 274 F.3d 800 (4th Cir. 2001). Under

the Jones–Farmer test, a defendant is entitled to a post-restraint, pretrial hearing only if the

defendant shows: (1) that he has insufficient funds with which to retain private counsel;

and (2) makes a prima facie showing of a bona fide reason to believe the grand jury erred

in determining that the restrained assets” would be subject to forfeiture if the defendant

were convicted.” Jones, 160 F.3d at 647; see also Farmer, 274 F.3d at 804–06; United

States v. Kahn, 890 F.3d 937 (10th Cir. 2018) (clarifying Jones; defendant need only show

that he has insufficient funds, not that he has “no funds” with which to retain counsel, to

satisfy the first prong); United States v. Yusuf, 199 Fed. Appx. 127, 132-33 (3d Cir. 2006)

(following Jones and Farmer; district court must require defendants to show that they can

satisfy the two Jones requirements, and then may release funds for attorney’s fees only if

the Government fails to establish probable cause); United States v. Lewis, 2006 WL

1579855, * 8-10 (D. Minn. June 1, 2006) (applying Jones-Farmer and denying defendant’s

right to a hearing because she could satisfy neither of the two requirements; that defendant

was represented by three attorneys at the Jones hearing is strong evidence that she was not

without funds with which to retain counsel); United States v. Mueller, 2008 WL 2890258

* 2 (D. Minn. July 18, 2008) (approving Jones-Farmer test, following Lewis). 6

       Other courts apply a similar rule without expressly adopting Jones-Farmer. See


6
 The Eighth Circuit has not made a specific holding with respect to this test, but the District
of Minnesota has followed this majority rule in the cases cited herein.
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United States v. Holy Land Found. for Relief & Dev., 493 F.3d 469, 475 (5th Cir. 2007)

(en banc) (not expressly adopting Jones-Farmer but citing Jones with approval and holding

that a post-restraint hearing is not necessary in every case, but may be required when the

defendant “needs the restrained funds to pay for legal defense on associated criminal

charges, or to cover ordinary and reasonable living expenses); United States v. Bonventre,

720 F.3d 126, 131 (2nd Cir. 2013) (adopting the first prong of Farmer but not the second;

a defendant is not entitled to a probable cause hearing unless he shows that his Sixth

Amendment rights are implicated, but he need not make a formal prima facie showing that

the initial probable cause finding was erroneous); United States v. Jones, 844 F.3d 636,

641 (7th Cir. 2016) (“If the district court finds that the defendant has insufficient alternative

assets with which to pay counsel, but the Government fails to justify its retention of all the

frozen assets, then the court must order the release of funds in an amount necessary to pay

reasonable attorney’s fees . . ..”).

       It is, therefore, Lazzaro’s burden to demonstrate that he has insufficient funds to pay

counsel before he may obtain a pretrial hearing in which he challenges the nexus between

the property and the crimes for which he has been charged. Lazzaro has not made that

showing. He does not even allege such a need, and he evinces no such intention. As a result,

his motion should be denied. E.g., United States v. Kielar, 791 F.3d 733, 739-40 (7th Cir.

2015) (defendant has no right to a post-restraint hearing unless he demonstrates with

reliable evidence that he lacks other funds with which to retain counsel; an “unsubstantiated

affidavit” is not sufficient), following United States v. Moya-Gomez, 860 F.2d 706, 729

(7th Cir. 1988).

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       B. Lazzaro Has Not Demonstrated a Need for Pretrial Release of the Property.

       Even if the Court chose not to follow the majority position and instead considered

the matter under a balancing test, following Mathews v. Eldridge, Lazzaro would still not

be entitled to a hearing to challenge the basis for the retention of the seized property. 424

U.S. 319 (1976). 7 That under that test, the Court would weigh “(1) the burdens that a

requested procedure would impose on the Government against (2) the private interest at

stake, as viewed alongside (3) the risk of an erroneous deprivation of that interest without

the procedure and the probable value, if any, of the additional procedural safeguard.”

Kaley, 571 U.S. 334 (quoting Mathews, 424 U.S. at 335, 96 S.Ct. 893) (internal quotations

and alterations omitted).

       Here, the defendant is incarcerated and can neither drive the Ferrari nor possess the

phones and electronic devices. There is no burden to him whatsoever because of their

pretrial retention by the government. Even if this more lenient test (which is contrary to the

majority position) is applied, Lazzaro’s motion should still be dismissed.

       C. Lazzaro’s Other Arguments do not Support a Pretrial Return of Property

       Although Lazzaro does not address the majority rule that governs this issue, he cites

other cases to assert that he is entitled to a pretrial hearing regarding retention of the

property. Those cases are inapt and do not compel a hearing here. For example, Lazzaro



7
  The Supreme Court expressly declined to address whether the Matthews test should be
applied to requests for requests for pretrial hearings regarding property seized for forfeiture
in Kaley v. United States, although it did note that, “[t]his Court has repeatedly declined to
require the use of adversarial procedures to make probable cause determinations.” 571 U.S.
320, at 334, 338 (2014).
                                              10
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argues that Luis United States, provides that defendants are entitled to pretrial review of

property seizures for probable cause determination. Def. Br. at 6 (citing Luis v. United

States, 578 U.S. 5, 136 S. Ct. 1083, 1090-92 (2016)). But Luis does not so hold. Instead, it

applies only when the retention of seized assets would implicate a defendant’s right to

retain counsel. See United States v. Chittenden, 848 F.3d 188, 194-95 (4th Cir. 2017) (Luis

applies only if the defendant’s Sixth Amendment rights are implicated; that the pretrial

restraint of her substitute assets caused defendant to go into debt to retain her counsel of

choice did not violate her Sixth Amendment rights); United States v. Marshall, 754 Fed.

Appx. 157, 161 (4th Cir. 2018) (“Luis does not apply if the defendant did not need the

restrained funds to retain counsel.”).

       Further, Luis arose from a civil action filed under 18 U.S.C. § 1345(a)(2), in which

a civil restraining order was issued; it did not directly address criminal forfeiture procedure

in this context. Unlike federal criminal forfeiture statutes, civil injunctions issued under

§ 1345(a)(2) may include the proceeds of the offense or property of equivalent value—e.g.,

substitute assets. Luis, 1038 S.Ct. at 1090. Luis distinguished the seizure of untainted

property in that civil injunction case from the seizure of tainted property in a criminal

forfeiture. Id. The relevant distinction is that the government’s interest in directly

forfeitable property relates back to the time of the crime pursuant to 21 U.S.C. § 853(c),

while title to substitute assets does not. Id; see also United States v. Monsanto, 491 U.S.

600, 615 (1989); Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 631 (1989).

The properties at issue here are alleged to be directly forfeitable. None are substitute assets.

Luis is inapt.

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       Lazzaro cites to United States v James Daniel Good Real Prop., 510 U.S. 43, 55-56

(1993) to argue that he is entitled to a prompt pretrial hearing to review of the seizure of

his property. But the pre-seizure notice and hearing requirement set forth in that case

applies only to real property. The Supreme Court distinguished personal property seizures

from the seizure of real property, and it has not applied the same pre-seizure notice

requirements to personal property seizures. Id.; see also Lewis, 2006 WL 1579855 at *5,

(the Supreme Court’s decision in James Daniel Good Real Property, does not apply to

personal property; a seizure warrant may be issued pursuant to § 853(f) without notice and

a hearing). 8

       Lazzaro also cites to Kaley, 571 U.S. 320 in support of his argument that he is

entitled to a pretrial hearing. But in Kaley, the Supreme Court noted that lower courts have

generally provided a hearing to an indicted defendant who seeks to “lift an asset restraint

to pay for a lawyer.” 571 U.S. at 324. 9 It did not create a right to a pretrial hearing to contest

the forfeitability of property seized for forfeiture. 10




8
  Sandoval v. Cty of Sonoma, 912 F.3d 509, 522 (9th Cir. 2018), also referenced by Lazzaro,
concerned a California state law regarding impounding of vehicles when the driver lacks a
license, and Lazzaro cites only the concurrence. The scheme at issue in Sandoval is not
analogous to federal forfeiture law and does not alter the well-established law on this issue.
9
  See also n. 4, supra.
10
   Similarly, Honeycutt v. United States addresses the issue of joint and several liability in
money judgment forfeitures issued under the Controlled Substances Act. 137 S. Ct. 1626
(2017). The issue of pretrial hearings regarding assets seized for forfeiture was not relevant
to that decision, and the quoted portion merely paraphrased a portion of the Kaley decision.
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       D. Regardless, the Seizures and Forfeiture Allegations Were Proper

       Because Lazzaro is not entitled to a hearing on the merits of his challenge to the

connection between the property and the crime, the government will only briefly address

the merits of the seizures by responding to some of the remaining incorrect arguments made

in Lazzaro’s briefing.

       The first such error concerns the scope of property subject to forfeiture in this case,

which is governed by 18 U.S.C. § 1594. That statute provides broad forfeiture authority,

authorizing forfeiture not only proceeds and facilitating property, but also of property

“involved in, used or intended to be used to commit . . .” the underlying offenses, which

include a conspiracy charge. Id. Lazzaro’s briefing, however, appears to cite instead to the

substantive forfeiture authority of 21 U.S.C. § 853(a), which applies to controlled

substances violations. ECF No. 75 at 6, quoting § 853(a). That statute does not include

property that was merely “involved in” the underlying offense. ECF No. 75 at 6.

       Regardless, Lazzaro’s argument that the Ferrari did not facilitate the crime of sex

trafficking of a minor is absurd—Lazzaro drove the Ferrari to pick up a minor and transport

her to his home for sex. Its nexus to the charged crime is obvious. 11


11
   If Lazzaro intended to allege that the forfeiture of the Ferrari would constitute an
excessive fine, he had the burden to demonstrate that in his motion. He has not done so.
United States v. Dodge Caravan Grand SE, 387 F.3d 758, 763 (8th Cir. 2004) (“the
defendant has the initial burden of making a prima facie showing of gross
disproportionality.”); United States v. Viloski, 814 F.3d 104 (2nd Cir. 2016) (burden is on
the defendant to show that a forfeiture is grossly disproportional). In any event, an
excessive fines argument would be premature before trial. See United States v. Talebnejad,
342 F. Supp. 2d 346, 361 (D. Md. 2004) (pretrial challenge to forfeiture on Eighth
Amendment grounds is premature; until the facts are established at trial, any determination
of the factors that inform the Eighth Amendment analysis would be speculative), aff’d, 460
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       With respect to the seized phones and electronic devices, Lazzaro fails to

acknowledge that those items were seized as evidence and are subject to retention for that

purpose regardless of whether they are subject to forfeiture. It was unnecessary for the

search warrant to cite forfeiture authority for the phones. Unites States v. Sigillito,759 F.3d

913, 926 (8th Cir. 2014) (“The district court correctly held that the search warrant was not

required to contain the § 853(f) findings.”). And as is set forth above, the United States is

authorized to retain evidence seized in an ongoing investigation. E.g., Jackson, 526 F.3d

at 396 (motion for return of property is properly denied when the government’s need for

the property as evidence continues).

       Finally, to the extent Lazzaro argues that the Indictment does not set forth detailed

facts establishing the nexus between the property and the Counts alleged against him (ECF

No. 11), that is irrelevant because no such showing is required. See United States v.

Afremov, 2007 WL 3237630, *10 (D. Minn. Oct. 30, 2007) (Advisory Committee note to

Rule 32.2(a) makes clear that the indictment need not explain how government intends to

trace the property subject to forfeiture to the offenses alleged in the indictment; it is

sufficient if defendant is given notice that he faces forfeiture of his property in terms of the

applicable statute).




F.3d 533 (4th Cir. 2006).
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                                   CONCLUSION

      For the reasons stated above, the United States respectfully requests that Defendant

Lazzaro’s Motion to Vacate Restraints on Certain Seized Property be denied.

                                                Respectfully submitted,

Dated: 1-24-2022                                CHARLES J. KOVATS, JR
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